 Case 4:21-cv-00264-ALM Document 5-1 Filed 06/01/21 Page 1 of 1 PageID #: 23




                         UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS

 David Cathey,                                )
                                              )
                  Plaintiff,                  )
                                              )
 vs.                                          )   Case No. 4:21-cv-264
                                              )
 VSC Operations, LLC,                         )
                                              )
                 Defendant.                   )
                                              )


       [PROPOSED] ORDER GRANTING DEFENDANT VSC OPERATIONS, LLC’S
                           MOTION TO DISMISS

        The Court has considered Defendant VSC Operations, LLC’s Rule 12(b)(6) Motion to

Dismiss and is of the opinion that it should be GRANTED.

        It is therefore, ORDERED that Plaintiff’s Complaint is hereby DISMISSED with

prejudice.
